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                                                                         ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT                                             DOC #: _________________
SOUTHERN DISTRICT OF NEW YORK                                            DATE FILED: April 30, 2015
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                                                                     :
 GEOFFREY OSBERG, on behalf of himself                               :
 and on behalf of all others similarly situated,                     :
                                                                     :
                                     Plaintiff,                      :
                                                                     :         07-cv-1358 (KBF)
                            -v-                                      :
                                                                     :             ORDER
 FOOT LOCKER, INC. et al.,                                           :
                                                                     :
                                     Defendants.                     :
                                                                     :
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KATHERINE B. FORREST, District Judge:

        The Court heard oral argument on the two pending motions in this action on

April 30, 2015. (ECF Nos. 199 and 279.) For the reasons set forth on the record,

both motions are DENIED.

        The following schedule shall govern this action through trial:

        1.       Pretrial materials, including the Joint Pretrial Order (“JPTO”), are due

                 Friday, June 12, 2015.

        2.       The Final Pretrial Conference (“FPTC”) is set for Wednesday,

                 June 17, 2015, at 1 p.m.

        3.       Trial shall commence on Monday, June 22, 2015.
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     The Clerk of Court shall terminate the motions at ECF Nos. 199 and 279.

     SO ORDERED.

Dated:      New York, New York
            April 30, 2015



                                       _____________________________________
                                             KATHERINE B. FORREST
                                             United States District Judge




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